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                          UNITED STATES DISTRICT COURT

                           MIDDLE DISTRICT OF FLORIDA

                                ORLANDO DIVISION



 Colby Alexander Frank



                   Plaintiff,



 v.                                          Case No: 6:23-cv-2043-PGB-RMN



 Randy Fine

                   Defendant.




              Correspondence & Amended Complaint


       Plaintiff respectfully requests this Honorable Court hears this pleading that
 he has been having logistical issues with the mailings of his filings and his
 responses have been making the record very late. Plaintiff has to his knowledge
 amended the complaint in compliance with the order dockets numbered 5 and 6.
 Plaintiff again files the same complaint including the amended causes of action in
 the original complaint and adjustments to defendants and witnesses. If this is not
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 what the court means by amending the complaint, then plaintiff does not
 understand or comprehend exactly what is required of the amended complaint.

       Plaintiff was under the original belief that including his causes of action was
 in satisfaction of the order to show cause, and Plaintiff has filed the other
 documents required in a separate document called “Compliance With Orders,”
 (response to Docket 3) that is currently in the mail en route to the Clerk’s office
 and is also being filed electronically to ensure it makes the record before December
 12th, 2023. Plaintiff has now learned how to file electronically and will be using
 that tool from now on.

       As Plaintiff previously stated, friends have been jailed for distributing
 political and religious literature that Defendant Fine opposes. This lawsuit is
 absolutely necessary for Plaintiff to seek justice for Defendant Fine’s criminal
 behavior. Please do not dismiss this lawsuit.
